        Case 19-04171-dd                    Doc 167 Filed 06/26/20 Entered 06/26/20 14:39:26                               Desc Ch 7
                                                First Mtg Notice (BNC) Page 1 of 2
Information to identify the case:

Debtor 1:
                      Marc K. Knapp                                              Social Security number or ITIN:   xxx−xx−8914
                                                                                 EIN: _ _−_ _ _ _ _ _ _
                      First Name   Middle Name   Last Name

Debtor 2:                                                                        Social Security number or ITIN: _ _ _ _
                      First Name   Middle Name   Last Name
(Spouse, if filing)                                                              EIN: _ _−_ _ _ _ _ _ _
United States Bankruptcy Court:        District of South Carolina                Date case filed in chapter:         11        8/6/19
                                                                                 Date case converted to chapter:
Case number:           19−04171−dd                                                                                    7    6/25/20


Official Form 309B (For Individuals or Joint Debtors)
Notice of Chapter 7 Bankruptcy Case −− Proof of Claim Deadline Set                                                                        12/15

For the debtors listed above, a case has been filed under chapter 7 of the Bankruptcy Code. An order for relief has
been entered.

This notice has important information about the case for creditors, debtors, and trustees, including information about
the meeting of creditors and deadlines. Read both pages carefully.

The filing of the case imposed an automatic stay against most collection activities. This means that creditors generally may not
take action to collect debts from the debtors or the debtors' property. For example, while the stay is in effect, creditors cannot
sue, garnish wages, assert a deficiency, repossess property, or otherwise try to collect from the debtors. Creditors cannot
demand repayment from debtors by mail, phone, or otherwise. Creditors who violate the stay can be required to pay actual and
punitive damages and attorney's fees. Under certain circumstances, the stay may be limited to 30 days or not exist at all,
although debtors can ask the court to extend or impose a stay.

The debtors are seeking a discharge. Creditors who assert that the debtors are not entitled to a discharge of any debts or who
want to have a particular debt excepted from discharge may be required to file a complaint in the bankruptcy clerk's office within
the deadlines specified in this notice. (See line 9 for more information.)

To protect your rights, consult an attorney. All documents filed in the case may be inspected at the bankruptcy clerk's office at
the address listed below or through PACER (Public Access to Court Electronic Records at www.pacer.gov).

The staff of the bankruptcy clerk's office cannot give legal advice.

To help creditors correctly identify debtors, debtors submit full Social Security or Individual Taxpayer Identification
Numbers, which may appear on a version of this notice. However, the full numbers must not appear on any document
filed with the court.

Do not file this notice with any proof of claim or other filing in the case. Do not include more than the last four digits of
a Social Security or Individual Taxpayer Identification Number in any document, including attachments, that you file
with the court.
                                                 About Debtor 1:                                      About Debtor 2:

1.        Debtor's full name                     Marc K. Knapp

2.        All other names used in the
          last 8 years

3.      Address                                  5695 Captain Kidd Road
                                                 Hollywood, SC 29449

4.      Debtor's attorney                        Frederick M Adler                                    Contact phone 843−314−3204
                                                 Adler Law Firm, LLC                                  Email ____________________
        Name and address                         PO Box 4743
                                                 Pawleys Island, SC 29585

5.      Bankruptcy trustee                       Kevin Campbell                                       Contact phone (843) 884−6874
                                                 PO Box 684                                           Email ____________________
        Name and address                         Mount Pleasant, SC 29465

6. Bankruptcy clerk's office              J. Bratton Davis United States                                       Hours open 9:00 am − 5:00 pm
                                          Bankruptcy Courthouse
     Documents in this case may be filed 1100 Laurel Street                                                    Contact phone 803−765−5436
     at this address. You may inspect all Columbia, SC 29201−2423
     records filed in this case at this office
     or online at www.pacer.gov.                                                                               Date: 6/26/20
                                                                                                               For more information, see page 2 >
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Debtor Marc K. Knapp                                                                                                                   Case number 19−04171−dd

7. Meeting of creditors                                                                                                     Location:
     Debtors must attend the meeting to      July 28, 2020 at 02:00 PM                                                      King and Queen Building, 145
     be questioned under oath. In a joint   The meeting may be continued or adjourned to a later                            King Street, Room 225,
     case, both spouses must attend.                                                                                        Charleston, SC 29401
     Creditors may attend, but are not      date. If so, the date will be on the court docket.
     required to do so.

8.                      Presumption of abuse                                          Insufficient information has been filed to date to permit the clerk
                        If the presumption of abuse arises, you may have the          to make any determination concerning the presumption of
                        right to file a motion to dismiss the case under 11           abuse. If more complete information, when filed, shows that the
                        U.S.C. § 707(b). Debtors may rebut the presumption            presumption has arisen, creditors will be notified.
                        by showing special circumstances.

9. Deadlines                                File by the deadline to object to discharge or to                               Filing deadline: 9/28/20
                                            challenge whether certain debts are dischargeable:
     The bankruptcy clerk's office must
     receive these documents and any        You must file a complaint:
     required filing fee by the following    • if you assert that the debtor is not entitled to receive a discharge
     deadlines.                             of any debts
                                               under any of the subdivisions of 11 U.S.C. § 727(a)(2) through (7),
                                            or
                                            • if you want to have a debt excepted from discharge under 11
                                            U.S.C § 523(a)(2), (4) or (6).
                                            You must file a motion:
                                            • if you assert that the discharge should be denied under §
                                            727(a)(8) or (9).

                                            Deadline for all creditors to file a proof of claim                             Filing deadline: 9/4/20
                                            (except governmental units):
                                            Deadline for governmental units to file a proof of                              Filing deadline: 10/26/20
                                            claim:

                                            Deadlines for filing proof of claim:
                                             A Proof of Claim is a signed statement describing a creditor's claim. You can obtain a copy of the proof of claim form at the
                                            Bankruptcy Clerk's Office in Columbia or through the Court's website at www.scb.uscourts.gov. Please call the Clerk's
                                            Office if you have procedural questions about the filing of a proof of claim. A secured creditor retains rights in its collateral
                                            regardless of whether that creditor files a Proof of Claim. If you do not file a Proof of Claim by the "Deadline to File a Proof
                                            of Claim" as set forth above, you might not be paid any money on your claim from other assets in the bankruptcy case. To
                                            be paid you must file a Proof of Claim even if your claim is listed in the schedules filed by the debtor. Filing a Proof of
                                            Claim submits the creditor to the jurisdiction of the Bankruptcy Court, with consequences a lawyer can explain. For
                                            example, a secured creditor who files a Proof of Claim may surrender important nonmonetary rights, including the right to a
                                            jury trial. Filing Deadline for a Creditor with a Foreign Address: The deadlines for filing claims set forth above on this
                                            notice apply to all creditors. If this notice has been mailed to a creditor at a foreign address, the creditor may file a motion
                                            requesting the Court to extend the deadline. You may electronically file claims at www.scb.uscourts.gov/epoc.html. Do not
                                            include this notice with any filing you make with the court.


                                            Deadline to object to exemptions:                                               Filing deadline: 30 days after the
                                            The law permits debtors to keep certain property as exempt. If you              conclusion of the meeting of creditors
                                            believe that the law does not authorize an exemption claimed, you
                                            may file an objection.

10. Creditors with a foreign                 If you are a creditor receiving a notice mailed to a foreign address, you may file a motion asking the court to
    address                                  extend the deadlines in this notice. Consult an attorney familiar with United States bankruptcy law if you have
                                             any questions about your rights in this case.

11. Liquidation of the debtor's              The bankruptcy trustee listed on the front of this notice will collect and sell the debtor's property that is not
    property and payment of                  exempt. If the trustee can collect enough money, creditors may be paid some or all of the debts owed to them
                                             in the order specified by the Bankruptcy Code. To ensure you receive any share of that money, you must file a
    creditors' claims                        proof of claim as described above.

12. Exempt property                          The law allows debtors to keep certain property as exempt. Fully exempt property will not be sold and
                                             distributed to creditors. Debtors must file a list of property claimed as exempt. You may inspect that list at the
                                             bankruptcy clerk's office or online at www.pacer.gov. If you believe that the law does not authorize an
                                             exemption that the debtors claim, you may file an objection. The bankruptcy clerk's office must receive the
                                             objection by the deadline to object to exemptions in line 9.

13. Miscellaneous Notice                     The Voice Case Information System (VCIS) will give status information on cases filed or converted after
                                             11/30/88. Call 1−866−222−8029. Please refer to the Court's web site at www.scb.uscourts.gov for further
                                             information. Chapter 7 cases: Property of the estate may be abandoned by the trustee at the meeting of
                                             creditors unless creditors or parties in interest object to SC LBR 6007−1.

14. Options to Receive Notices               (1) Anyone can register for the Electronic Bankruptcy Noticing program at bankruptcynotices.uscourts.gov OR
    Served by the Clerk by                   (2) Debtors can register for DeBN by filing local form 'Debtor's Electronic Noticing Request (DeBN)' with the
                                             Clerk of Court. Both options are FREE and allow the clerk to quickly send you court−issued notices and orders
    Email Instead of by U.S.                 by email. See Local Rule 9036−1.
    Mail
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